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5
     Attorney for TINA MARIE BINI,
6    Defendant
7
                            IN THE UNITED STATES DISTRICT COURT
8
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,                    No. 2:13-CR-0332-GEB
11

12                     Plaintiff,

            v.                                    STIPULATION REGARDING EXCLUDABLE
13                                                TIME PERIODS UNDER SPEEDY TRIAL
     TINA MARIE BINI and                          ACT; (PROPOSED) FINDINGS AND ORDER
14
     MATTHEW LEE BOYLE,
15
                       Defendants.
16

17
            It is hereby stipulated and agreed by and between the parties hereto, through
18
     their respective counsel, as follows:
19
            1. By previous order, this matter was set for status on May 29, 2015.
20
            2. By this stipulation, defendants now move to continue the status conference
21
                 until June 12, 2015, and to exclude time between May 29, 2015, and June 12,
22
                 2015, under Local Code T4.
23
            3. The parties agree and stipulate and request that the Court find the following:
24
                 a. The Government this week transmitted proposed plea agreements to
25
                    counsel for the defendants.
26
                 b. Counsel for defendants require additional time to review the agreements
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                    with their clients and they contemplate changes of pleas on June 12, 2015.
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                                                   1
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1                Counsel for defendants believe that failure to grant the above-requested

2                continuance would deny them reasonable time necessary for effective

3                preparation, taking into account the exercise of due diligence.

4            c. The Government does not object to the continuance.

5            d. Based on the above-stated findings, the ends of justice served by

6                continuing the case as requested outweigh the interest of the public and

7                the defendant in a trial within the original date prescribed by the Speedy

8                Trial Act.

9            e. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.

10               Section 3161, et seq., within which trial must commence, the time period of

11               May 29, 2015, to June 12, 2015, 2015, inclusive, is deemed excludable

12               pursuant to 18 U.S.C. Section 3161(h)(7)(A), B(iv) (Local Code T4)

13               because it results from a continuance granted by the Court at defendants’

14               request on the basis of the Court’s finding that the ends of justice served

15               by taking such action outweigh the best interest of the public and the

16               defendants in a speedy trial.

17
          4. Nothing in this stipulation and order shall preclude a finding that other
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19           provisions of the Speedy Trial Act dictate that additional time periods are

20           excludable from the period within which a trial must commence.

21
          IT IS SO STIPULATED.
22

23
     Dated: May 27, 2015                             /s/ Candace A. Fry
24                                                   CANDACE A. FRY, Attorney for
                                                     TINA MARIE BINI, Defendant
25

26
     Dated: May 27, 2015                               /s/ Candace A. Fry for
27                                                   JAMES R. GREINER, Attorney for
                                                     MATTHEW LEE BOYLE, Defendant
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                                                 2
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1
     Dated: May 27, 2015                      BENJAMIN B. WAGNER,
2                                             United States Attorney
3

4                                             By /s/ Candace A. Fry for
                                              TODD A. PICKLES, Assistant
5                                             United States Attorney
6                                             (Signed for Mr. Greiner and Mr. Pickles
7                                             with their prior authorization)

8

9                                     ORDER
10

11              IT IS SO FOUND AND ORDERED.

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                Dated: May 28, 2015
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